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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
ANNAMARIE TROMBETTA,
                          Plaintiff,

         -v-
                                                           CIVIL ACTION NO.: 18 Civ. 993 (RA) (SLC)
NORB NOVOCIN, MARIE NOVOCIN, ESTATE
                                                                      SCHEDULING ORDER
AUCTIONS, INC., WILLIAM SEIPPEL, WORTHPOINT
CORPORATION,

                               Defendants,

SARAH L. CAVE, United States Magistrate Judge:

         A Telephone Discovery Conference is scheduled for Tuesday, February 1, 2022 at 2:30

pm on the Court’s conference line. The parties are directed to call: (866) 390-1828; access code:

380-9799, at the scheduled time. The parties shall be prepared to discuss next steps to move

this action forward following the Opinion & Order by the Honorable Ronnie Abrams concerning

the Worthpoint Defendants’ motion to dismiss (ECF No. 187).

         The Clerk of Court is respectfully directed to mail a copy of this Order to Ms. Trombetta

at the address below.


Dated:          New York, New York
                December 27, 2021

                                              SO ORDERED.


                                              _________________________
                                              SARAH L. CAVE
                                              United States Magistrate Judge


Mail To:        Annamarie Trombetta
                175 East 96th Street
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      Apt. 12R
      New York, New York 10128




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